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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

RANDY SMITH, individually and on

behalf of all others similarly situated, f Civil Action No. 17-8945 (MAS) (DEA)
Plaintiff,
Vv. ; ORDER

ANTARES PHARMA, INC.), et al.,

Defendants.

 

This matter comes before the Court on two motions: (i) Faraj Touchan’s (“Touchan’’)
Motion for Appointment as Lead Plaintiff and Approval of Lead Counsel (ECF No. 7); and
(ii) Serghei Lungu’s (“Lungu”) Motion for Appointment as Lead Plaintiff and Approval of
Counsel (ECF No. 9). Touchan and Lungu each filed opposition (ECF Nos. 12, 14) and Lungu
replied (ECF No. 16). The Court has carefully considered the parties’ submissions and decides
the matter without oral argument pursuant to Local Civil Rule 78.1. For the reasons set forth in
the accompanying Memorandum Opinion, and for other good cause shown,

IT IS on this OT Sey of July 2018, ORDERED that:

1. Lungu’s Motion for Appointment as Lead Plaintiff and Approval of Counsel (ECF

No. 9) is GRANTED. The Court appoints Lungu as Lead Plaintiff, Pomerantz

LLP as Lead Counsel, and Lite DePalma Greenberg, LLC as Liaison Counsel.
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Zs The following competing motions are DENIED WITHOUT PREJUDICE:
(a) Touchan’s Motion for Appointment as Lead Plaintiff and Approval of Lead
Counsel (ECF No. 7);
(b) The Antares Investor Group’s Motion for Appointment as Lead Plaintiff
and Approval of Selection of Counsel (ECF No. 8); and
(c) Rehan Khan’s Motion for Appointment as Lead Plaintiff and Approval of

Counsel (ECF No. 10).

 

MICHAEL A. Le

UNITED STATES DISTRICT JUDGE
